          Case 25-15352-MBK                       Doc 1      Filed 05/20/25 Entered 05/20/25 00:23:31                             Desc Main
                                                            Document      Page 1 of 26
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  Ò»© Ö»®-»§
 ____________________ District of _________________
                                        (State)
                         îëó                               ïï
 Case number (If known): _________________________ Chapter _____                                                                   q Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Õ»´´§ Ø¿³·´¬±² ß°¬- ÔÔÝ
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                è ___
                                              ___ ê – ___
                                                        î ___
                                                           é ___
                                                              ë ___
                                                                 ï ___
                                                                    ï ï___ ë
                                                                           ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              ïðð         Ú®¿²µ´·² Í¯«¿®» Ü®·ª»
                                              ______________________________________________              ½ñ±         Ô§²¼ Ô·ª·²¹
                                                                                                          _______________________________________________
                                              Number     Street                                           Number     Street

                                              Í«·¬» ìðï
                                              ______________________________________________              ììçç Ð±²¼ Ø·´´ Î±¿¼
                                                                                                          _______________________________________________
                                                                                                          P.O. Box

                                              Í±³»®-»¬                     ÒÖ      ðèèéí
                                              ______________________________________________              Í¿² ß²¬±²·±                ÌÈ      éèîíï
                                                                                                          _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              ______________________________________________
                                              County                                                      éðìç        Ø¿³·´¬±² ßª»
                                                                                                          _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          Ð·¬¬-¾«®¹¸                 Ðß      ïëîðè
                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
          Case 25-15352-MBK                Doc 1         Filed 05/20/25 Entered 05/20/25 00:23:31                             Desc Main
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Debtor        Õ»´´§ Ø¿³·´¬±² ß°¬- ÔÔÝ
              _______________________________________________________                                              îëó
                                                                                            Case number (if known)_____________________________________
              Name




 6.   Type of debtor
                                          ²
                                          q Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          q Partnership (excluding LLP)
                                          q Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          q Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          q Railroad (as defined in 11 U.S.C. § 101(44))
                                          q Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          q Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          q Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          q
                                          ² None of the above

                                          B. Check all that apply:

                                          q Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          q Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      q Chapter 7
                                          q Chapter 9
                                          q Chapter 11. Check all that apply:
                                          ²
      A debtor who is a “small business
      debtor” must check the first sub-
                                                        q The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           q The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          q A plan is being filed with this petition.
                                                          q Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          q The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          q The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          q Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         Õ»´´§ Ø¿³·´¬±² ß°¬- ÔÔÝ
               _______________________________________________________                                             îëó
                                                                                            Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        q
                                         ² No
      filed by or against the debtor
      within the last 8 years?           q Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a               District _______________________ When _______________ Case number _________________________
      separate list.
                                                                                         MM / DD / YYYY


 10. Are any bankruptcy cases            q No
      pending or being filed by a
      business partner or an             q             Í»» Í½¸»¼«´» ï
                                         ² Yes. Debtor _____________________________________________              ßºº·´·¿¬»
                                                                                                     Relationship _________________________
      affiliate of the debtor?                              Ò»© Ö»®-»§
                                                   District _____________________________________________ When               ðë ñïç ñ îðîë
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         q Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         q
                                         ² A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have         q
                                         ² No
      possession of any real             q Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  q It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  q It needs to be physically secured or protected from the weather.
                                                  q It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  q Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                  q No
                                                  q Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor      Õ»´´§ Ø¿³·´¬±² ß°¬- ÔÔÝ
            _______________________________________________________                                                   îëó
                                                                                               Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     ² Funds will be available for distribution to unsecured creditors.
                                         q
                                         q After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         q 1-49                             q 1,000-5,000                               q 25,001-50,000
 14. Estimated number of
                                         q 50-99                            q 5,001-10,000                              q 50,001-100,000
     creditors (on a
     consolidated basis)
                                         ²
                                         q 100-199                          q 10,001-25,000                             q More than 100,000
                                         q 200-999

                                         q $0-$50,000                       q $1,000,001-$10 million                    q $500,000,001-$1 billion
 15. Estimated assets
                                         q $50,001-$100,000                 q $10,000,001-$50 million                   q $1,000,000,001-$10 billion
     (on a consolidated
     basis)                              q $100,001-$500,000                q $50,000,001-$100 million                  q $10,000,000,001-$50 billion
                                         q $500,001-$1 million              q $100,000,001-$500 million
                                                                            ²                                           q More than $50 billion

                                         q $0-$50,000                       q $1,000,001-$10 million                    q $500,000,001-$1 billion
 16. Estimated liabilities
                                         q $50,001-$100,000                 q $10,000,001-$50 million                   q $1,000,000,001-$10 billion
     (on a consolidated
     basis)
                                         q $100,001-$500,000                q $50,000,001-$100 million                  q $10,000,000,001-$50 billion
                                         q $500,001-$1 million              ² $100,000,001-$500 million
                                                                            q                                           q More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         ðë ñ ïç ñ îðîë
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         û Û´·¦¿¾»¬¸ ßò Ô¿Ð«³¿
                                             _____________________________________________                Û´·¦¿¾»¬¸ ßò Ô¿Ð«³¿
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                   ×²¼»°»²¼»²¬ Ú·¼«½·¿®§
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor      Kelly Hamilton Apts LLC
            _______________________________________________________                                            25-
                                                                                        Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      û Andrew Zatz
                                          _____________________________________________            Date       05 / 19 / 2025
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Andrew Zatz
                                         _________________________________________________________________________________________________
                                         Printed name
                                         White & Case LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1221        Avenue of the Americas
                                         _________________________________________________________________________________________________
                                         Number      Street
                                         New York
                                         ____________________________________________________             NY
                                                                                                         ____________  10020
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         (212) 819-8200
                                         ____________________________________                             azatz@whitecase.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         003672012
                                         ______________________________________________________ NJ
                                                                                                ____________
                                         Bar number                                             State




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                                             Schedule 1

                                         Affiliated Entities

On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed in
this Court a petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101 et seq., as amended. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of CBRM Realty Inc.


                                               Debtor

                  1.      CBRM Realty Inc.


                  2.      Crown Capital Holdings LLC


                  3.      Kelly Hamilton Apts LLC


                  4.      Kelly Hamilton Apts MM LLC


                  5.      RH Chenault Creek LLC

                  6.      RH Copper Creek LLC

                  7.      RH Lakewind East LLC

                  8.      RH Windrun LLC

                  9.      RH New Orleans Holdings LLC

                  10.     RH New Orleans Holdings MM LLC
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                        IN THE UNITED STATES BANKRUPTCY COURT
                               FOR DISTRICT OF NEW JERSEY

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    Kelly Hamilton Apts LLC,                                       )   Case No. 25-______ (___)
                                                                   )
                              Debtor.                              )   (Joint Administration Requested)
                                                                   )

                                             LIST OF MEMBERS1

                                                                                 Percentage of Membership
              Member                          Address of Member
                                                                                       Interest Held

      Maiden Holdings LLC                  100 Franklin Square Drive                            23%
                                                   Suite 401
                                              Somerset, NJ 08873

     Rector Investments LLC                100 Franklin Square Drive                            24%
                                                   Suite 401
                                              Somerset, NJ 08873

        Laurel Holdco LLC                  100 Franklin Square Drive                            24%
                                                   Suite 401
                                              Somerset, NJ 08873

        Trinity Holdco LLC                 100 Franklin Square Drive                            24%
                                                   Suite 401
                                              Somerset, NJ 08873

     Kelly Hamilton Apts MM                100 Franklin Square Drive                             5%
              LLC                                  Suite 401
                                               Somerset, NJ 08873




1
     This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
     Bankruptcy Procedure. All membership positions listed indicate the record holder of such membership interest as
     of the date commencement of the chapter 11 case.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR DISTRICT OF NEW JERSEY

                                                         )
  In re:                                                 )   Chapter 11
                                                         )
  Kelly Hamilton Apts LLC,                               )   Case No. 25-______ (___)
                                                         )
                         Debtor.                         )   (Joint Administration Requested)
                                                         )

                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following debtor identifies the following entities, other than a government unit, that

directly or indirectly own 10% or more of any class of the debtor’s equity interest:

                    Member                           Approximate Percentage of Membership
                                                                 Interest Held

              Maiden Holdings LLC                                         23%

             Rector Investments LLC                                       24%

               Laurel Holdco LLC                                          24%

               Trinity Holdco LLC                                         24%

           Kelly Hamilton Apts MM LLC                                     5%
              Case 25-15352-MBK                      Doc 1        Filed 05/20/25 Entered 05/20/25 00:23:31                                 Desc Main
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      Fill in this information to identify the case:

      Debtor name CBRM Realty Inc.

      United States Bankruptcy Court for the:                      District of   New Jersey

      Case number (If known):
                                                                                  (State)
                                                                                                                                               Check if this is an
                                                                                                                                                   amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated,   total claim amount and deduction for value of
                                                                                 services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
     Customers Bank                             Attn: James Millar               Unsecured Notes                                                            $41,500,000
1                                               Tel: (212) 248-3264
                                                james.millar@faegredrinker.com


     Federated Insurance Companies              Attn: James Millar               Unsecured Notes                                                            $32,000,000
2                                               Tel: (212) 248-3264
                                                james.millar@faegredrinker.com


     Cincinnati Financial                       Attn: James Millar               Unsecured Notes                                                             $29,000,000
3                                               Tel: (212) 248-3264
                                                james.millar@faegredrinker.com


     Spano Investor LLC                         Attn: Adam C. Rogoff             Judgment Creditor     CUD                                                  $22,360,805.84
4    787 7th Avenue, 13th Floor                 Tel: (212) 715-9285
     New York, New York 10019                   ARogoff@kramerlevin.com



     Sagicor Life Insurance                     Attn: James Millar               Unsecured Notes                                                            $16,000,000
5                                               Tel: (212) 248-3264
                                                james.millar@faegredrinker.com


     AQS LLC                                    Attn: James Millar               Unsecured Notes                                                            $12,000,000
6                                               Tel: (212) 248-3264
                                                james.millar@faegredrinker.com


     Adams Bank & Trust                         Attn: Bruce Morgan               Unsecured Notes                                                            $12,000,000
7                                               bruce@galacticlitigation.com



     CKD Funding LLC                            Attn: William A. Goldman         Mortgage              CUD                                                  $10,927,319.62
8                                               Tel: (212) 745-9546
                                                william.goldman@afslaw.com




Modified Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 1
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    Debtor         CBRM Realty Inc.                                                                 Case number (if known)
                   Name




     Name of creditor and complete            Name, telephone number, and     Nature of the claim     Indicate if      Amount of unsecured claim
     mailing address, including zip code      email address of creditor       (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                              contact                         debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                              professional            unliquidated,    total claim amount and deduction for value of
                                                                              services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff

      Bar Harbor Bank & Trust                Attn: James Millar               Unsecured Notes                                                                $9,000,000
9
                                             Tel: (212) 248-3264
                                             james.millar@faegredrinker.com


10                                           Attn: James Millar               Unsecured Notes                                                                $7,000,000
       CFBank
                                             Tel: (212) 248-3264
                                             james.millar@faegredrinker.com


                                             Attn: James Millar
11 Thompson Investment                                                        Unsecured Notes                                                                $7,000,000
      Management                             Tel: (212) 248-3264
                                             james.millar@faegredrinker.com



12                                          Attn: James Millar
      NexBank                               Tel: (212) 248-3264               Unsecured Notes                                                                $7,000,000
                                            james.millar@faegredrinker.com


13 LL Funds                                 Attn: James Millar
                                            Tel: (212) 248-3264               Unsecured Notes                                                                $4,750,000
                                            james.millar@faegredrinker.com


                                            Attn: Adam Blackman
14     Cleveland International Fund                                           Mortgage                 CUD                                                   $4,500,000
                                            Tel: (216) 245-0609
                                            Blackman@Clevelandinternation
                                            alfund.com


15 First Dakota Financial Corporation       Attn: James Millar                Unsecured Notes
                                            Tel: (212) 248-3264                                                                                              $3,000,000
                                            james.millar@faegredrinker.com


16                                           Attn: James Millar
      NFC Investments                        Tel: (212) 248-3264              Unsecured Notes                                                                $3,000,000
                                             james.millar@faegredrinker.com


17 Calamos Advisors LLC                      Attn: James Millar               Unsecured Notes                                                                $3,000,000
                                             Tel: (212) 248-3264
                                             james.millar@faegredrinker.com


      Citizens State Bank (Ontonagon)        Attn: James Millar               Unsecured Notes                                                                $2,500,000
18
                                             Tel: (212) 248-3264
                                             james.millar@faegredrinker.com


      American Financial Group (AMM)         Attn: James Millar               Unsecured Notes                                                                $2,500,000
19
                                             Tel: (212) 248-3264
                                             james.millar@faegredrinker.com


                                             Attn: James Millar               Unsecured Notes                                                                $2,000,000
20 Gulf Coast Bank & Trust Company           Tel: (212) 248-3264
                                             james.millar@faegredrinker.com




Modified Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 2
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                                                            Document     Page 11 of 26
  Debtor          CBRM Realty Inc.                                                                 Case number (if known)
                  Name




     Name of creditor and complete           Name, telephone number, and     Nature of the claim     Indicate if      Amount of unsecured claim
     mailing address, including zip code     email address of creditor       (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                             contact                         debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                             professional            unliquidated,    total claim amount and deduction for value of
                                                                             services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff

21 NexAnnuity                              Attn: James Millar                Unsecured Notes                                                                $2,000,000
                                           Tel: (212) 248-3264
                                           james.millar@faegredrinker.com


     Strada Education Network              Attn: James Millar                Unsecured Notes                                                               $1,500,000
22
                                           Tel: (212) 248-3264
                                           james.millar@faegredrinker.com


23                                          Attn: James Millar               Unsecured Notes
     Cattaraugus County Bank                Tel: (212) 248-3264                                                                                             $1,500,000
                                            james.millar@faegredrinker.com



24 AmeriServ Financial, Inc.               Attn: James Millar                Unsecured Notes                                                                $1,000,000
                                           Tel: (212) 248-3264
                                           james.millar@faegredrinker.com



25 Jacques de Saint Phalle                 Attn: James Millar                Unsecured Notes                                                                $1,000,000
                                           Tel: (212) 248-3264
                                           james.millar@faegredrinker.com


26                                         Attn: James Millar                Unsecured Notes                                                               $1,000,000
     John Beckelman
                                           Tel: (212) 248-3264
                                           james.millar@faegredrinker.com


27 LAGSP LLC                                Attn: Justin Utz                 Property Management                                                            $821,000
     4507 Pond Hill Road                    Tel: (210) 733-6133              and Asset Management
     San Antonio, Texas 78231               JUtz@lynd.com                    Services


     Lynd Management Group
28 4507 Pond Hill Road                      Attn: Justin Utz                 Property Management                                                            $544,734.87
     San Antonio, Texas 78231               Tel: (210) 733-6133              and Asset Management
                                            JUtz@lynd.com                    Services


     Verimore Bank/First Missouri           Attn: James Millar               Unsecured Notes                                                               $500,000
     Bank                                   Tel: (212) 248-3264
29
                                            james.millar@faegredrinker.com


     VR Asset Management                    Attn: James Millar               Unsecured Notes                                                                $500,000
30                                          Tel: (212) 248-3264
                                            james.millar@faegredrinker.com




Modified Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 3
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                       RESOLUTIONS OF THE INDEPENDENT FIDUCIARY
                                                May 19, 2025
         After due deliberation, the undersigned, being the independent fiduciary and/or authorized
signatory of CBRM Realty Inc. (“CBRM”), Crown Capital Holdings LLC, Kelly Hamilton Apts LLC,
Kelly Hamilton Apts MM LLC, RH Chenault Creek LLC, RH Copper Creek LLC, RH Lakewind East
LLC, RH Windrun LLC, RH New Orleans Holdings LLC, and RH New Orleans Holdings MM LLC
(collectively, the “Companies”), does hereby consent to, adopt, and approve the following resolutions
pursuant to the certificate of incorporation and operating agreement of each Company (in each case, as
amended or amended and restated to date) and the laws of the state of New York and Delaware:
Chapter 11 Filing
        WHEREAS, pursuant to the written consents of the sole shareholder of CBRM and Crown Capital
Holdings LLC, each dated as of September 26, 2024, and the that certain omnibus written consent dated
December 9, 2024, Elizabeth A. LaPuma was appointed as the sole director, manager, and member, as
applicable, of each Company (the “Independent Fiduciary”);
        WHEREAS, in connection therewith, the sole shareholder of CBRM appointed the Independent
Fiduciary as proxy and attorney-in-fact to vote, consent, and exercise any similar rights with respect to any
and all shares of common stock of CBRM upon all matters to which the shareholder is entitled to vote,
consent, or exercise similar rights;
      WHEREAS, the Independent Fiduciary has had the opportunity to consult with each of the
Companies’ financial and legal advisors and fully consider each of the strategic alternatives available to the
Companies;
         WHEREAS, the Debtors have secured a senior secured, superpriority debtor-in-possession credit
facility (the “DIP Facility”) to fund the Companies’ operations in the ordinary course, fund the
administration of the Chapter 11 Cases, and pay the claims of certain vendors and other stakeholders in the
ordinary course of business during the Chapter 11 Cases;
         WHEREAS, based on a review of all available information regarding the terms of the DIP Facility,
the Independent Fiduciary believes that the Companies will obtain benefits from the DIP Facility and that
it is advisable and in the best interests of the Companies to enter into the DIP Facility and to execute loan
documents in connection therewith and to perform their obligations thereunder;
        WHEREAS, based on a review of all available information regarding each of the Companies, the
Independent Fiduciary deems it advisable and in the best interests of each of the Companies, their creditors,
and other stakeholders to take all other actions specified in the following resolutions; and
        WHEREAS, the Independent Fiduciary believes it is in the best interests of each of the Companies
to commence a case under the provisions of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”).
        NOW, THEREFORE, BE IT,
         RESOLVED, that in the business judgment of the Independent Fiduciary, it is desirable and in the
best interests of the Companies, their creditors, and other parties in interest to file, or cause to be filed, a
voluntary petition for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of the Bankruptcy
Code in the United States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”) and
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any other petition for relief or recognition or other order that may be desirable under applicable law in the
United States, and to take any and all actions, that the Independent Fiduciary deems necessary or
appropriate.
        RESOLVED, that the Independent Fiduciary (the “Authorized Signatory”) is hereby authorized,
empowered, and directed, with the assistance of the Companies’ advisors, to execute and file on behalf of
each Company all petitions, schedules, lists and other motions, applications, pleadings, papers, or
documents, and to take any and all actions that the Independent Fiduciary deems necessary or proper to
obtain such relief, including, without limitation, any action necessary to maintain the ordinary course
operation of each Company’s business and in connection with the Chapter 11 Cases, with a view to the
successful prosecution of the case.
Retention of Professionals
        RESOLVED, that the Authorized Signatory is hereby authorized and directed to employ the law
firm of White & Case LLP (“W&C”) as general bankruptcy counsel to represent and assist each Company
in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, including filing any motions, objections, replies, applications, or
pleadings; and in connection therewith, the Authorized Signatory, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of W&C in accordance with
applicable law.
        RESOLVED, that the Authorized Signatory is hereby authorized and directed to employ the law
firm of Ken Rosen Advisors PC (“KRA”) as co-bankruptcy counsel to represent and assist the Companies
in carrying out their duties under the Bankruptcy Code, and to take any and all actions to advance the
Companies’ rights and obligations, including filing any motions, objections, replies, applications, or
pleadings; and in connection therewith, each of the Authorized Signatories, with power of delegation, is
hereby authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of KRA in accordance with
applicable law.
         RESOLVED, that the Authorized Signatory is hereby authorized and directed to employ the firm
of IslandDundon LLC (“IslandDundon”) to represent and assist the Companies in carrying out their duties
under the Bankruptcy Code, and to take any and all actions to advance the Companies’ rights and
obligations; and in connection therewith, the Authorized Signatory is, with power of delegation, hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of IslandDundon in accordance
with applicable law.
        RESOLVED, that the Authorized Signatory is hereby authorized and directed to employ a notice,
claims, solicitation, and balloting agent in connection with the Chapter 11 Cases; and in connection
therewith, the Authorized Signatory is, with power of delegation, hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of such agent in accordance with applicable law.
         RESOLVED, that the Authorized Signatory is hereby authorized to retain any other professionals
to assist each Company in carrying out its duties under the Bankruptcy Code; and in connection therewith,
the Authorized Signatory, with power of delegation, is hereby authorized and directed to execute
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appropriate retention agreements, pay appropriate retainers and fees, and cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary.
DIP Facility
         RESOLVED, that in the business judgment of the Independent Fiduciary, it is desirable and in the
best interests of the Companies, their creditors, and other parties in interest for the Companies to enter into
the DIP Facility and to finalize, execute, and deliver a credit agreement.
        RESOLVED, that the Authorized Signatory be and hereby is empowered, authorized and directed,
to cause each Company to negotiate, execute and deliver a credit agreement and other loan documents, in
such form and with such changes or amendments (substantial or otherwise) thereto as the Authorized
Signatory may deem necessary, desirable or appropriate.
        RESOLVED, that that the Authorized Signatory be and hereby is empowered, authorized and
directed to take all such further actions which shall be necessary, proper or advisable to cause the Companies
to perform their obligations in connection with the DIP Facility and to carry out fully the intent of the
foregoing resolutions.
General
        RESOLVED, that the Authorized Signatory is hereby authorized and empowered, on behalf of and
in the name of each Company, to amend, supplement, or otherwise modify from time to time the terms of
any documents, certificates, instruments, agreements, financing statements, notices, undertakings, or other
writings referred to in the foregoing resolutions.
         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatory, the Authorized Signatory (and its designees and delegates) is hereby authorized and
empowered, in the name of and on behalf of each Company, to take or cause to be taken any and all such
other and further action, and to execute, acknowledge, deliver, and file any and all such agreements,
certificates, instruments, and other documents and to pay all expenses, including but not limited to filing
fees, in each case as in the Authorized Signatory’s judgment shall be necessary, advisable, or desirable in
order to fully carry out the intent and accomplish the purposes of the resolutions adopted herein.
         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have been
approved by the foregoing resolutions except that such acts were taken before the adoption of these
resolutions, are hereby, in all respects, approved and ratified as the true acts and deeds of each Company
with the same force and effect as if each such act, transaction, agreement, or certificate has been specifically
authorized in advance by resolution of the Independent Fiduciary.
         RESOLVED, that the omission from these resolutions of any agreement, document, or other
arrangement contemplated by any of the agreements, documents, or instruments described in the foregoing
resolutions or any action to be taken in accordance with any requirement of any of the agreements or
instruments described in the foregoing resolutions shall in no manner derogate from the authority of the
Authorized Signatory to take all actions necessary, desirable, advisable, or appropriate to consummate,
effectuate, carry out, or further the transactions contemplated by, and the intent and purposes of, the
foregoing resolutions.
       RESOLVED, that the Authorized Signatory (and its designees and delegates) is hereby authorized
and empowered to take all actions or to not take any action in the name of each Company with respect to
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the transactions contemplated by these resolutions hereunder, as the Authorized Signatory shall deem
necessary or desirable in such Authorized Signatory’s reasonable business judgment to effectuate the
purposes of the transactions contemplated herein.
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.
                      CBRM REALTY INC.


                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.
                      CBRM REALTY INC., THE SOLE MEMBER OF:
                      CROWN CAPITAL HOLDINGS LLC


                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.
                      CROWN CAPITAL HOLDINGS LLC, THE SOLE MEMBER OF:
                      KELLY HAMILTON APTS MM LLC



                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.
                      RH NEW ORLEANS HOLDINGS MM LLC:


                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.
                      RH NEW ORLEANS HOLDINGS MM LLC, THE SOLE MEMBER OF:

                      RH NEW ORLEANS HOLDINGS LLC

                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.

                      RH NEW ORLEANS HOLDINGS LLC, THE SOLE MEMBER OF:

                      RH CHENAULT CREEK LLC


                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.

                      RH NEW ORLEANS HOLDINGS LLC, THE SOLE MEMBER OF:

                      RH COPPER CREEK LLC


                                            By:    __________________________________
                                            Name: Elizabeth LaPuma
                                            Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.

                      RH NEW ORLEANS HOLDINGS LLC, THE SOLE MEMBER OF:

                      RH LAKEWIND EAST LLC


                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.

                      RH NEW ORLEANS HOLDINGS LLC, THE SOLE MEMBER OF:

                      RH WINDRUN LLC


                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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         IN WITNESS WHEREOF, the undersigned has executed this omnibus written consent as of the
date first above written.
                      KELLY HAMILTON APTS MM LLC, THE MANAGING MEMBER OF:
                      KELLY HAMILTON APTS LLC


                                           By:    __________________________________
                                           Name: Elizabeth LaPuma
                                           Title: Authorized Signatory
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 Fill in this information to identify the case and this filing:


                Õ»´´§ Ø¿³·´¬±² ß°¬- ÔÔÝ
 Debtor Name __________________________________________________________________
                                                                               Ò»© Ö»®-»§
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):     îëó
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____

         ² Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
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         ² Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.

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        Executed on ______________                              Û´·¦¿¾»¬¸ ßò Ô¿Ð«³¿
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Û´·¦¿¾»¬¸ ßò Ô¿Ð«³¿
                                                                ________________________________________________________________________
                                                                Printed name

                                                                ×²¼»°»²¼»²¬ Ú·¼«½·¿®§
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
